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United States District Court
Southern District of New York                                    1:19-cv-08729

Hipolito Baez, individually and on behalf of
all others similarly situated,
                                Plaintiff
                                                                   Complaint
                  - against -

Bio-Nutritional Research Group, Inc.
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.     Bio-Nutritional Research Group, Inc. (“defendant”) manufactures, distributes,

markets, labels and sells whey protein wafer bars under the Power Crunch brand (“Products”).

       2.     The Products are available to consumers nationwide from third-party retailers,

including brick and mortar and online stores and directly from defendant’s website.

       3.     The Products are 1.4 OZ (40 G) and sold individually or in cases of twelve (12).

       4.     The Products are available in varieties including: chocolate mint, salted caramel,

French vanilla crème and wild berry crème.

       5.     The labeling or advertising of the Products makes direct and/or indirect

representations with respect to the primary recognizable flavor(s), by word, vignette, e.g.,




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depiction of a fruit, or other means, shown in the following table.1

                         Variety                         Front Label




                 Chocolate Mint




                 Salted Caramel




                 Wild Berry Crème




                 French Vanilla Crème




           6.     The front label representations include (1) the brand name, “Power Crunch,” (2)

product description, “Protein Energy Bar,” (3) grams of protein, (4) grams of sugar, (5) the name

of the characterizing flavor, i.e., Chocolate Mint, (6) vignette of the characterizing flavor, i.e.,

chocolate, mint leaves and mint chocolate chip ice cream for Chocolate Mint and (7) color pattern

reflective of the characterizing flavor, i.e., green stripe along the product for Chocolate Mint.



1
    21 C.F.R. § 101.22(i).


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          7.     The images and vignettes used to advertise and market the Products in digital and/or

print media further the front-label impression that they contain the characterizing ingredients,

shown below.2




I. The Representations are Misleading because the Products do not Contain the Named and/or

      Characterizing Ingredients


          8.     Based on the representations, consumers expect the Products to contain amounts of

the characterizing ingredients sufficient to independently characterize the food.

          9.      Ingredients that could be characterizing for the Products are presented below.

                     Variety                        Expected Ingredients
                     Chocolate Mint                 Mint oil


2
    Clockwise: Chocolate Mint, Salted Caramel, French Vanilla and Wild Berry Crème


                                                        3
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                 Salted Caramel                Caramel
                 French Vanilla Crème          Vanilla flavoring or vanilla extract
                 Wild Berry Crème              Wild Berry Puree

        10.   However, the Products do not contain the characterizing ingredients, shown through

the ingredient lists, but contain “natural flavors” and/or “artificial flavors.”

  Variety                                         Ingredient List




 Salted
 Caramel      INGREDIENTS: Proto Whey protein blend (Micro Peptides from High-DH
              hydrolyzed whey protein [40% di and tripeptides], whey protein isolate, milk
              protein isolate), palm oil, enriched flour (wheat flour, malted barley flour, niacin,
              reduced iron, thiamine mononitrate, riboflavin, folic acid), sugar, canola oil,
              dextrose, natural flavors, soy lecithin, annatto, sea salt, sucralose, cocoa processed
              with alkali, baking soda, ammonium bicarbonate, stevia leaf extract.




 Chocolate
 Mint      INGREDIENTS: Proto Whey protein blend (Micro Peptides from High-DH
           hydrolyzed whey protein [40% di and tripeptides], whey protein isolate, milk
           protein isolate), palm oil, enriched flour (wheat flour, malted barley flour, niacin,
           reduced iron, thiamine mononitrate, riboflavin, folic acid), sugar, palm kernel oil,
           cocoa processed with alkali, fructose, natural flavors, soy lecithin, maltodextrin,
           salt, stevia leaf extract, baking soda, ammonium bicarbonate, monk fruit.




 French
 Vanilla
              INGREDIENTS: Proto Whey protein blend (Micro Peptides from High-DH
              hydrolyzed whey protein [40% di and tripeptides], whey protein isolate, milk
              protein isolate), palm oil, enriched flour (wheat flour, malted barley flour, niacin,
              reduced iron, thiamine mononitrate, riboflavin, folic acid), sugar, palm kernel oil,



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                  canola oil, dextrose, soy lecithin, natural flavors, sucralose, baking soda, salt,
                  ammonium bicarbonate, stevia leaf extract.




    Wild
    Berry         INGREDIENTS: Proto Whey protein blend (Micro Peptides from High-DH
    Creme         hydrolyzed whey protein [40% di and tripeptides], whey protein isolate, milk
                  protein isolate), palm oil, enriched flour (wheat flour, malted barley flour, niacin,
                  reduced iron, thiamine mononitrate, riboflavin, folic acid), sugar, palm kernel oil,
                  canola oil, dextrose, soy lecithin, natural & artificial flavors, sucralose, citric acid,
                  red 40, baking soda, salt, ammonium bicarbonate, stevia leaf extract.


           11.     “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material.3

           12.    “Artificial flavor” refers to any substance intended to impart flavor that “is not

derived from a spice, fruit or fruit juice, vegetable or vegetable juice, edible yeast, herb, bark, bud,

root, leaf or similar plant material, meat, fish, poultry, eggs, dairy products, or fermentation

products.”4

           13.    Natural flavor and artificial flavor may each refer to combinations of natural or

artificial flavors.

           14.    The absence of the terms “natural flavor” or “artificial flavor” from the front labels

misleads consumers because they will (1) expect the Products contain an amount of the

characterizing ingredients sufficient to independently characterize the Products, (2) not expect the

Products’ flavor to be supplied by natural and artificial flavor compounds instead of the

characterizing ingredients of the food.



3
    21 C.F.R. § 101.22(a)(3).
4
    21 C.F.R. § 101.22(a)(1).


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         15.     The absence of the terms “natural flavor” or “artificial flavor” causes consumers to

pay more for the Products because they:

               (i) Expect the Products contain the characterizing ingredients, which are more

                  expensive than natural flavor that are derived from the characterizing ingredients;

               (ii) characterizing ingredients provide nutritional value and flavor, instead of the

                  limited function of “natural flavor” and “artificial flavor,” which essentially are a

                  delivery mechanism to affect the Products’ taste and flavor;5

               (iii)Increasingly seek foods which incorporate ingredients in a less or minimally

                  processed form, consistent with the type of food and recognizing that some

                  transformation of the raw commodity must occur to become part of a finished food

                  product, i.e., mint oil as an ingredient derived from mint leaves as opposed to

                  expecting the Products contain whole mint leaves;

         16.     The correct labeling for the Products’ flavors cannot be determined without access

to the labeling of the flavor ingredients when shipped from a flavor company to the food

manufacturer or processor, and such information not available to consumers.6

         17.     Even though the ingredients are listed as “natural flavor” and “artificial flavor” on

the ingredient list, the front label designation of a product’s flavoring is based on factors beyond

the source material and the process used to make the flavor, such as whether (1) the natural flavor

is derived from the characterizing food ingredient commonly expected to be part of the product7

and (2) the artificial flavor simulates, resembles or reinforces the characterizing flavor.




5
  21 C.F.R. § 101.22(a)(1) (“The term artificial flavor or artificial flavoring means any substance, the function of
which is to impart flavor); 21 C.F.R. § 101.22(a)(3) (Natural flavor’s “significant function in food is flavoring rather
than nutritional”).
6
  21 C.F.R. § 101.22(g).
7
  21 C.F.R. § 101.22(i).


                                                           6
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        18.    If the natural flavor on the ingredient list of the Chocolate Mint Products8 was derived

from chocolate and mint, a non-misleading designation of the Products would be Natural

Chocolate Mint Flavored Protein Energy Bar.9

        19.    If the “natural flavor” identified on the ingredient list of the Chocolate Mint Products

was not derived from chocolate and/or mint, a non-misleading designation of the Products would

be Artificially Flavored Chocolate Mint Protein Energy Bar.10

        20.    “Artificially flavored” is a non-misleading term in this scenario because the Products

do not contain any of the characterizing ingredients, and thus cannot impart flavor.

        21.    The Wild Berry Crème Products contain “natural flavor” and “artificial flavor.”

        22.    Assuming the natural flavor is derived from the characterizing food ingredients and

that the artificial flavor does not simulate, resemble or reinforce the characterizing flavor, a non-

misleading designation would be “Natural Wild Berry Crème Flavored Protein Energy Bar.”11

        23.    Since the artificial flavor is not designed to imitate the natural flavor, it does not need

to be listed on the front label because the manufacturer is not using the artificial flavor to make the

consumer think there is more of the natural flavor present than there is.

        24.    Assuming the natural flavor is derived from the characterizing food ingredients and

that the artificial flavor simulates, resembles or reinforces the characterizing flavor, a non-

misleading designation would be “Artificially Flavored Wild Berry Crème Protein Energy Bar.”12

        25.    Even if a product is mostly flavored with natural flavor derived from the

characterizing food ingredient, the addition of a small amount of artificial flavor which simulates




8
  And the Salted Caramel, French Vanilla Crème and Wild Berry Crème.
9
  21 C.F.R. § 101.22(i)(1)(i).
10
   21 C.F.R. § 101.22(i)(1)(ii).
11
   21 C.F.R. § 101.22(i)(1)(i).
12
   21 C.F.R. § 101.22(i)(2).


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the natural flavor is more material and required to be declared in lieu of any natural flavor because:

                     1. artificial flavor is often concentrated with several times the strength of a

                         natural flavor, so that the amount of the ingredient is not indicative to its

                         importance; and

                     2. natural flavors are more expensive than artificial flavors so the manufacturer

                         can more readily mislead consumers through artificial flavors that mimic the

                         natural flavor.13


II. Conclusion


         26.    The proportion and amount of the characterizing ingredients and the presence or

absence of natural and/or artificial flavors has a material bearing on price or consumer acceptance

of the Products, because these ingredients and natural flavors are more desired by consumers and

cost more.

         27.    Had Plaintiff and Class members known the truth about the Products, they would not

have bought the Products or would have paid less.

         28.    The Products contain other representations which are misleading and deceptive.

         29.    As a result of the false and misleading labeling, the Products cost no less than $2.99

per 1.4 OZ (40 G), excluding tax – premium prices compared to other similar products represented

in a non-misleading way.

                                             Jurisdiction and Venue


         30.    Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).


13
   The requirement for declaration of artificial flavors simulating the natural flavor is a subtle deterrent from using
artificial flavors, especially since there is no requirement a manufacturer make any representations as to a product’s
flavor.


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        31.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        32.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        33.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        34.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        35.   Plaintiff is a citizen of Bronx County, New York.

        36.   Defendant is a citizen of California because it is a California corporation with a

principal place of business in Irvine, California, Orange County.

        37.   During the class period, Plaintiff purchased one or more of the Products identified

herein for personal use, consumption or application based on the above representations, for no less

than the price indicated, supra, excluding tax, within their districts and/or states.

        38.   Plaintiff would consider purchasing the Products again if there were assurances that

the Products’ representations were no longer misleading.

                                          Class Allegations


        39.   The classes will consist of all consumers in all 50 states with sub-classes for the

individual states and nationwide classes.

        40.   The complaint contains Plaintiff(s) from: New York, who will represent his/her/their

state sub-classes of persons who purchased any Products containing the actionable representations

during the statutes of limitation.



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       41.    Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if Plaintiff and class members are

entitled to damages.

       42.    Plaintiff’s claims and the basis for relief are typical to other members because all

were subjected to the same representations.

       43.    Plaintiff is an adequate representative because his interests do not conflict with other

members.

       44.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       45.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       46.    Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       47.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350
                       and Consumer Protection Statutes of Other States and Territories

       48.    Plaintiff asserts causes of action under the consumer protection statutes of New York

and subsequently identified plaintiffs will assert the all 50 states, with Plaintiff asserting the

consumer protection laws of his or her individual state.

       49.    Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because (1) it gives the impression to consumers the Products contain more of the characterizing

ingredients than they actually do, (2) the absence of any flavoring designation means the

consumers will expect the flavor only comes from (i) the inclusion of the food ingredients, (ii) the

inclusion of food ingredients and natural flavor derived from the food ingredients and (3) the



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ingredient list fails to dispel ambiguity and reinforces the front-label impression as to the amount

and/or type of the characterizing ingredients and presence or absence of natural and/or artificial

flavors.

       50.      Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

       51.      Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       52.      After mailing appropriate notice and demand, any plaintiff in a State where notice is

required prior to seeking damages under that State’s Consumer Protection Statutes, will have

mailed and/or have amended this complaint to request damages.

       53.      Plaintiff and class members relied on the representations and omissions, paying more

than they would have, causing damages.

                                         Negligent Misrepresentation

       54.      Plaintiff incorporates by reference all preceding paragraphs.

       55.      Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through representing the characterizing ingredient was

present in greater amount than it was and affirmatively representing the Products was flavored due

to presence of the food ingredients.

       56.      Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       57.      This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.




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        58.    The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

        59.    Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

        60.    Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        61.    Plaintiff incorporates by reference all preceding paragraphs.

        62.    Defendant manufactures and sells products which contain characterizing ingredients

and/or flavors which are desired by consumers.

        63.    The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

        64.    Defendant’s front labels informed and warranted to Plaintiff the Products contained

the characterizing ingredients in amounts sufficient to independently characterize the food and that

the flavor imparted to the Products was a result of the food ingredients and not the “natural flavor”

or “artificial flavor.”

        65.    Defendant had a duty to disclose and/or provide a non-deceptive description of the

Products flavoring and ingredients and knew or should have known same were false or misleading.

        66.    This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

        67.    Plaintiff provided or will provide notice to defendant and/or its agents,



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representatives, retailers and their employees.

       68.    The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       69.    Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                               Fraud


       70.    Plaintiff incorporates by references all preceding paragraphs.

       71.    Defendant’s purpose was to sell products with valuable and desired characterizing

ingredients, which could provide nutritional value as opposed to only affecting a product’s flavor

or flavor, and represent the Products contained enough of these ingredients to characterize the

Products.

       72.    The Products were not flavored exclusively from the characterizing ingredient but

from flavor compounds blended together and labeled as “natural flavor” and “artificial flavor.”

       73.    Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

Products contained natural and artificial flavor on the front label, when it knows or should know

consumers will pay more for products that (1) get their flavor from food ingredients instead of

added flavor and (2) only have natural flavor instead of artificial flavor.

       74.    Defendant’s intent was to secure economic advantage in the marketplace against

competitors by appealing to consumers who value products with sufficient amounts of the

characterizing ingredients for the above-described reasons.

       75.    Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment



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       76.    Plaintiff incorporates by references all preceding paragraphs.

       77.    Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiffs’ attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: September 19, 2019
                                                                Respectfully submitted,

                                                                Sheehan & Associates, P.C.
                                                                /s/Spencer Sheehan
                                                                Spencer Sheehan
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1:19-cv-08729
United States District Court
Southern District of New York

Hipolito Baez individually and on behalf of all others similarly situated


                                         Plaintiff


        - against -


Bio-Nutritional Research Group, Inc.

                                          Defendant




                                           Complaint


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                                Great Neck, NY 11021
                                Tel: (516) 303-0552
                                Fax: (516) 234-7800



Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: September 19, 2019
                                                                            /s/ Spencer Sheehan
                                                                             Spencer Sheehan
